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                EXHIBIT 33
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 McPherson, Carolyn
 From:                            Reardon, Steve
 Sent:                            Friday, September 14, 2007 9:17 AM
 To:                              Brantley, Eric; McPherson, Carolyn; Trautman, Elaine; Bennett, Don; Mohn, Al; Lyle, Don
 Cc:                              Grant, Claude; Duffy, Mike; Strizzi, Dave; Giacalone, Robert
 Subject:                         DEA Suspicious Order Monitoring

 Attachments:                     Final Summary of DEA Meeting 9-7-07 .doc; DEA Presentation.pdf


 HOMA met with DEA officials last Friday September 7 to discuss the Agency's current policy position on suspicious orders
 of controlled substances. A summary highlighting the key points made during the meeting are attached for your review.
 DEA is setting a new standard with which we must comply. This is all coming about as a result of the problems with
 internet pharmacies and controlled substance diversion. Recently, they suspended an ABC registration and used the
 suspension to get them to implement a complex and onerous suspicious order monitoring program that meets the criteria
 spelled out in the HOMA meeting summary. ABC presented their program at the DEA Industry conference this week that I
 attended and I have attached a copy of the presentation. DEA referred to the ABC program as the new industry standard.
 I will be setting up a meeting to initiate discussions on this topic in the near future.

 Additionally, I am aware that MCK is in ongoing negotiations with DEA related to an Order to Show Cause. An Order to
 Show cause affords a registrant the opportunity to argue why a registration should not be suspended or revoked. I think it
 would be safe to assume that DEA will use this opportunity to get MCK to implement an ABC like program. Also, at the
 industry meeting the HD Smith Director of Regulatory Compliance was pulled aside and told that DEA has a concern with
 some of their customers and to schedule a meeting with DEA in DC to discuss and that he should bring his IT people with
 him.

 We need to be proactive and implement a program that we develop, that will satisfy DEA expectations and that is not
 dictated to us by the Agency pursuant to regulatory action. The ABC program is not customer friendly and results in
 delayed filling and delivery of controlled substance orders to the customer.

 Steve




  Final Summary of          DEA
   DEA Meeting 9 .•• sentation.pdf (3891


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                   Summary of the DEA-HDMA Meeting on Suspicious Orders
                                  Meeting Date: Sept. 7, 2007

     HDMA Attendees: Scott Melville, Anita Ducca, David Durkin (OFW)

     DEA Attendees: Marie Caverly, Kathy Gallagher, Mike Mapes, Lisa Sullivan

     Summary: After introductions, HOMA
         Gave a brief overview of the Association, the Distribution industry, and described some of
         HDMA's safety policies and initiatives.
         Indicated our interest in having the DEA explain their "Internet Distributor Initiative" and
         understanding the DEA's expectations.
     DEA then provided us with their latest organization chart and explained the responsibilities of
     each section. Mike Mapes then provided HOMA with the same presentation that DEA has
     provided to several wholesale distributors regarding suspicious orders. (Attached) He noted
     that DEA had met with approximately 15-20 wholesale distributors one-on-one. They had
     prioritized who to meet with on a combination of wholesale distributor sales volume and
     tracing back to where they felt the source of products for illicit Internet pharmacies were
     located.

     Key "take aways" from the meeting were:

         DEA's policy was to expect more than just reporting "suspicious orders". If there was a
         suspicious order, the distributor should either stop the delivery or should evaluate the
         customer further before delivering it.
         Simply complying with the "suspicious orders" regulatory requirement does not mean, in
         the agency's view, that the registrant is maintaining an effective program to detect and
         prevent diversion.
     •   DEA indicated that they did not have the resources to inspect every pharmacy; therefore it
         was important for the distributor to "know their customers."
         The DEA criteria reflected in their September 2006 letter to registrants was "for
         background" and they do not expect the wholesale distributor to violate privacy or other
         laws to find out what they needed to know about their customers.


     Additional points DEA made included:

         DEA was clear that the "system" mentioned above did not need to be the same for each
         wholesale distributor.
         DEA provided examples of what a wholesale distributor should do to "know their
         customers" and what to look for. For example, they mentioned inspecting pharmacies.
         They also mentioned such actions as "doing Google searches" to determine if the
         pharmacy's name was affiliated with an internet site, and getting information from the
         state as to the nature and number of prior legal actions against a pharmacy. And they gave
         a checklist of "Internet Pharmacy Decision Questions" meant as a guide. (See attaclunent

     Summary: 9-07-07 DEAIHDMA Meeting                                              Page I of2




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         - page 2 after the organization chart) However, they did not give specifics as to how to go
         about completing the checklist beyond the examples above, and it was unclear if they
         expected wholesale distributors to inspect all pharmacies
     0
         DEA also does not want to receive suspicious order reports that merely reflect volumes
         that went over a threshold; they wanted reports that are "true" suspicious orders.
         Similarly, they do not want to receive what they called "excessive purchase" reports
         which had been used in the past.
     •   DEA also indicated that they were not going to make a decision for the wholesale
         distributor as to when an order was "'suspicious". They feel this is up to the distributor.
         DEA suggested that distributors should check on the pharmacy' s prescribing physicians.
         They pointed to some states having on-line systems by which a distributor could check to
         see if a prescribing physician had a valid DEA registration. DEA suggested that
         distributors ask who the doctors are that are prescribing, where the pharmacy is
         geographically with respect to its prescribing doctors and the patient population.


     Conclusion:

     At the close of the meeting, HOMA indicated that _we would be meeting with our members
     and discussing this further. We indicated that we might be suggesting future meetings
     between our two organizations and our members.


     HDMA questions and assessment:

     •   DEA attempted to place the Sept. 2006 letter into a better light than what it appeared to be
         on its face.
         DEA's expectations are clearly heightened. HOMA would like to ask its members about
         the impact of these expectations. For example,

           o Are all members capable of inspecting their pharmacy customers?
           o How difficult is it to put a "system" in place that not only monitors suspicious
             orders but also stops the order and/or evaluates the customer against the order?
           o How often does a suspicious order fall into a "gray area" for example, the order is
             larger than a pre-established threshold, but not so far over that it is clearly out of
             line with that pharmacy's customer base and size?

         Do we need better clarification and/or a written statement from the DEA about when to
         send a suspicious order and when not to send it even if it is over a threshold?
         Do we have recommendations for DEA as to how to approach this problem in a way that
         simplifies things for the wholesale distributor? Would some of our anti-counterfeit
         policies fit this situation? E.g., ask them to support RFID? Recommend, (and press for)
         better pharmacy inspections by DEA prior to licensure?




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                          Drug Enforcement Administration
                         Pharmaceutical Industry Conference

                                  Wholesale Distribution
                                Diversion Control Program

                                      September 11, 2007

                   Chris Zimmennan
                   Vice President - Corporate Security & Regulatory Affairs
                   AmerisourceBergen Corporation




                   Regulatory Responsibility

                     Title 21 of the Code of Federal Regulations:

                         1301.71fal- "All applicants and registrants
                         shall provide effective controls and procedures to
                         guard against theft and diversion of controlled
                         substances."



                         Distributor Response: Develop policy to ....




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                   HOW?
                     Distributors usually implement policies that mirror the
                      Code of Federal Regulations' requirements:

                     1301.72 - Physical Security Controls -vault I cage construction
                       and alarm system requirements - No Problem

                     1304 - Records and Reports of Registrants - information.
                       maintenance, and inventory requirements - No Problem

                     1305 - Orders For Schedule I & II Controlled Substances -
                         ordering, filling, executing, and endorsing DEA Forms 222 - No
                         Problem

                     1301.74-0ther Security Controls- make a good faith inquiry;
                      report suspicious orders; report significant losses - gray area




                   Regulatory- Responsibility

                     Title 21 of the Code of Federal Regulations:


                         1301.74(b)- ''The registrant shall design and operate a
                         system to disclose to the registrant suspicious
                         orders of controlled substances. The registrant shall
                         inform Field Diversion Office of the Administration in
                         his area of suspicious orders when discovered by the
                         registrant."




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                   Regulatory Responsibility

                          • Reporting suspicious orders to DEA does NOT
                           relieve the distributor of the responsibility to maintain
                           effective controls to prevent diversion.

                          • DEA cannot I will not tell a distributor:
                           - if an order is or is not legitimate; and/or
                           - if the distributor should or should not ship an order


                          • Distributor must make a "business" decision
                           whether or not to ship the order.




                   ABC's Diversion Control Program


                         • "Know Your Customer" Due Diligence

                         • Order Monitoring Program (OMP)

                         • Investigations

                         • Education and Training




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                   New Customer Due Diligence


                         •"Know Your Customer" Due Diligence investigations
                          completed on all new Retail and Wholesale Accounts.
                           - Retail chain pharmacies are exempted.

                         • Included in New Account Setup Process
                           - New Account Questionnaire
                          - On-site visit includes photographs inside and out
                           (or physical description of premises)




                   New Customer Due Diligence


                         • Monthly Sales limits
                           - All new accounts set at the lowest threshold level
                            for DEA business type in ABC's Order Monitoring
                             Program (OMP)

                         • "Do Not Ship" list
                           - Customers to whom ABC has ceased distribution to
                             due to suspicious activity
                           - Other sources




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                   Order Monitoring Program (OMP)

                         • The Controlled Substances/Listed Chemicals Order
                          Monitoring Program (OMP) was developed to
                          identify suspicious orders and purchasing trends.

                         • Historically Controlled Substance I Listed Chemical
                          order monitoring has been based on a ship and
                          report process.

                          • ABC's OMP process is now based on:
                           identify, capture, investigate, and report suspicious
                           orders; all prior to shipment.



                           2001-




                   OMP Customer Account Type and Size


                     •Each Customer is classified by "Customer Type," which
                      represents how the customer is registered with DEA.
                         -Hospital/Clinic, Retail Phannacy, Distributor, etc.
                         - This value is loaded using the NTIS Database synch process.


                     • Each customer is then categorized by "Customer Size"
                      based upon average revenue relative. to its peers in the
                      same "Customer Type."




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                         OMP Item Family and Threshold



                          ~   All controlled. substance and li.sted chemical products
                              are grouped into item "families" based upon the drug's
                              active ingredient, which has a corresponding Generic
                              Code Number (GCN).


                          • The OMP will combine all sales of items within the
                           same GCN family (e.g .• hydrocodone I vicodin;
                           oxycodone I percocet: Alprazolam I Xanax), for each
                           customer.


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                         OMP Item Family and Threshold


                          • Item threshold levels are established from
                           accumulated monthly sales for all customers based on
                           item family, DEA type, and customer size.


                          • A customer's threshold level is initially set by item
                           family based on the customer's DEA type and
                           customer size.




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                         OMP Order Processing


                         • A customer's incoming orders are accumulated by item
                           family, and the total item family order quantity is applied
                           to the predetermined Item family monthly threshold.


                         • If the order quantity falls below the Item family threshold,
                           the order will process normally.




                         OMP Order Processing

                         • If the order quantity goes over the item family threshold,
                           the order will be placed into uOMP Review."

                         • All subsequent orders within the same item family will be
                           rejected while an item within the same family is under
                           review.

                         • Each distribution center (DC) is responsible for initial
                           review of all orders in OMP Review.
                           -   If the DC can determine the order is not suspicious. the DC will release the
                               order.
                           -   If the DC is unsure, the order will be flagged to be investigated by
                               Corporate (CSRA}.




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                         OMP Order Processing


                          • All OMP orders that the DC released. as well as those
                            flagged for CSRA Review, are sent to CSRA each
                            morning.
                          > Based upon information available to CSRA, flagged
                            orders will either be released or placed in "Investigate"
                            status.

                          • All orders placed into Investigate status are
                            electronically reported to DEA on a daily basis.




                         OMP Order Processing


                          > CSRA conducts the investigation and will notify the
                            distnbution center of the final disposition of the order
                            (release or cancel).


                          > CSRA will also determine if any permanent action
                            needs to be taken with the customer.
                            - Customers who have legitimate needs will have their size or
                              threshold levels increased.
                            - Customers with continued suspicious ordering patterns may
                              have their ability to order control substances effected.




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                                                           Order Monitoring Process
                                                                            (OMP)




                                                                                     ..     --
                                                                                             ....__
                                                                                            ---
                                                                                           ._,_
                                                                                            ~..:-~

                                                                                              .... ac..-n...




                         Release/Ship




                                        Release/Ship                                Hold for
                                    Re        IOCSRA                            CSRAReview



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                                                                                                                           Report to DEA
                                                                                                                           andlm.esti




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                         Order Monitoring Program (OMP)

                           ,. A Distributor can't solely rely on computer
                             systems and programs to prevent diversion.

                           1>   All employees have a role and responsibility in a
                                successful Order Monitoring Program:
                                -Sales
                                 -Procurement
                                 -Management (DC I HQ)
                                 -Order fillers
                                 -Customer service
                                 -IT




                         Investigations
                                • Sources of Investigations
                                   - Order Monitoring Program (OMP)
                                  - Monthly Customer Product Mix Report
                                   - Notif!Ciltion by DEA
                                   - Notification by ABC DC

                                • Typical Investigation Process
                                   - One-year purchase history
                                   - On-site inspection
                                   - CSRA Fonn 590c Retail Pharmacy Veriflc:;ition Chec:klist

                                •Decision
                                   - Cease distribution of CS/LC to customer
                                   - Customer Sign applicable compliance agreement




                                                   - Ntit91te




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                         Education and Training
                           • All appropriate associates are trained on ABC's Diversion
                            Control Program




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